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                              8                           UNITED STATES BANKRUPTCY COURT

                              9                            SOUTHERN DISTRICT OF CALIFORNIA

                             10   In re:                                          Case No.: 20-02477-LT7
                             11
                                  GARDEN FRESH RESTAURANTS LLC,                   TRUSTEE’S MOTION TO APPROVE
                             12                                                   AUCTION PROCEDURES AND FOR
                                                                                  AUTHORITY TO SELL ESTATE’S
La Jolla, California 92037




                             13                 Debtor.                           INTEREST IN SETTLEMENT
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                                                                                  PROCEEDS OF CLASS ACTION
                             14                                                   LAWSUIT PURSUANT TO 11 U.S.C.
                                                                                  SECTION 363, FREE AND CLEAR OF
                             15
                                                                                  LIENS, CLAIMS, AND INTERESTS;
                             16                                                   MEMORANDUM OF POINTS AND
                                                                                  AUTHORITIES IN SUPPORT
                             17                                                   THEREOF
                             18                                                   Date:        January 10, 2024
                                                                                  Time:        10:00 a.m.
                             19
                                                                                  Dept:        Three (3)
                             20                                                   Honorable Laura S. Taylor

                             21

                             22

                             23

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                             27

                             28

                                  IN RE GARDEN FRESH RESTAURANTS LLC       i       MOTION TO APPROVE AUCTION PROCEDURES AND
                                  CASE NO. 20-02477-LT7                                 AUTHORIZE SALE OF CLASS ACTION CLAIMS
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                                  IN RE GARDEN FRESH RESTAURANTS LLC                        iii          MOTION TO APPROVE AUCTION PROCEDURES AND
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                              1          Leslie T. Gladstone, Chapter 7 Trustee (the “Trustee”) for the bankruptcy estate (the

                              2   “Estate”) of debtor Garden Fresh Restaurants LLC (“Garden Fresh”), submits the following

                              3   motion (the “Motion”) for an order approving auction procedures and authorizing the sale of

                              4   the Estate’s interest in claims to settlement proceeds in a class action lawsuit free and clear of

                              5   liens, claims, and interests. This Motion is based on the Memorandum of Points and

                              6   Authorities cited herein, the Notice of Hearing and Motion, the Declaration of Leslie T.

                              7   Gladstone (“Gladstone Declaration”) and the Request for Judicial Notice (the “RFJN”),

                              8   each filed concurrently herewith, and all pleadings and court documents on file in this case.1

                              9          In the event that no overbidder satisfies the prequalification requirements described

                             10   below and no opposition to the Motion is timely filed, the Trustee requests that this Motion

                             11   be granted and this hearing be removed from the Court’s calendar, and the Trustee will

                             12   submit an Order approving the sale without further hearing.2
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                             13                                                   I.
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                             14                                         INTRODUCTION

                             15          The Trustee seeks to sell certain assets of the Estate, namely claims held by the Estate

                             16   as the result of a recent settlement of a class action lawsuit, upheld on appeal, that would pay

                             17   settlement funds based on claims related to Visa and Mastercard charges incurred from 2004

                             18   to 2019 (the “Settlement Claims”). Garden Fresh owned and operated 95 to 100 restaurants

                             19   that accepted Visa and Mastercard credit or debit cards and holds claims that accrued during

                             20   this time period. Although Garden Fresh was formed in 2017, the Estate also holds claims

                             21   dating back to 2004. As shown below, Garden Fresh purchased assets from the bankruptcy

                             22

                             23

                             24   1
                                      The Trustee respectfully requests, pursuant to Rule 201 of the Federal Rules of Evidence,
                             25   made applicable herein by Rule 9017 of the Federal Rules of Bankruptcy Procedure, that the
                                  Court take judicial notice of the case docket for the above-captioned case and each of the
                             26   pleadings and other documents on file in the case, including those attached to the Gladstone
                                  Declaration.
                             27   2
                                    Questions regarding whether the hearing will be held should be directed to the Trustee’s
                                  counsel (Andrew Levin at 858-294-0219 or AndrewL@flgsd.com) after the Prequalification
                             28
                                  Deadline (Noon on January 5, 2024).
                                  IN RE GARDEN FRESH RESTAURANTS LLC          1        MOTION TO APPROVE AUCTION PROCEDURES AND
                                  CASE NO. 20-02477-LT7                                     AUTHORIZE SALE OF CLASS ACTION CLAIMS
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                              1   estate of Garden Fresh Restaurant Corp., including the right to Settlement Claims that

                              2   accrued prior to 2017.

                              3            The Trustee has been contacted by persons interested in purchasing the Estate’s rights

                              4   to the Settlement Claims, and multiple potential buyers have returned Nondisclosure

                              5   Agreements and have reviewed confidential documents regarding the Settlement Claims.

                              6   The Trustee has received a stalking horse bid for the Settlement Claims, subject to overbid.

                              7            In this Motion, the Trustee requests Court approval of certain auction procedures,

                              8   including the requirement that any overbidder prequalify to bid at an auction. If an

                              9   overbidder prequalifies, an auction will be held at the hearing on this Motion to determine the

                             10   successful bidder and a back-up bidder. Under those circumstances, the Trustee requests

                             11   authority to sell the Settlement Claims to the successful bidder and a back-up bidder on the

                             12   terms described below.
La Jolla, California 92037




                             13            In the event that no overbidder prequalifies, no auction will be held and the Trustee
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                             14   requests authority to sell the Settlement Claims to the identified buyer on the terms described

                             15   below.

                             16            This Motion is brought pursuant to section 363 of the Bankruptcy Code (11 U.S.C.

                             17   § 101, et seq.) on the grounds that the Settlement Claims hold value to the Estate; the Trustee

                             18   has marketed the sale of the Settlement Claims since July 2023; the Trustee expects a robust

                             19   sale; the terms of the sale and the auction procedures constitute a proper exercise of the

                             20   Trustee’s business judgment; and the sale is in the best interests of the Estate.

                             21                                                   II.

                             22                                     STATEMENT OF FACTS

                             23   A.       General Background and History of the Business

                             24            This bankruptcy case was commenced by Garden Fresh on May 14, 2020 (the

                             25   “Petition Date”), under chapter 7 of the U.S. Bankruptcy Code. On or about the same date,

                             26   the Trustee was appointed chapter 7 trustee of Garden Fresh’s Estate.

                             27            Formed in 2016, Garden Fresh operated a business consisting of buffet-style chain

                             28   restaurants under the brand names Souplantation, Sweet Tomatoes, Souplantation Field

                                  IN RE GARDEN FRESH RESTAURANTS LLC          2         MOTION TO APPROVE AUCTION PROCEDURES AND
                                  CASE NO. 20-02477-LT7                                      AUTHORIZE SALE OF CLASS ACTION CLAIMS
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                              1   Kitchen, and Souplantation Express, which it acquired from the bankruptcy estate of Garden

                              2   Fresh Restaurant Corp. (“GFRC”), as further described below. Prior to the Petition Date,

                              3   Garden Fresh operated between 95 and 100 restaurants across the United States.

                              4          The business that Garden Fresh acquired from the bankruptcy estate of GFRC started

                              5   in San Diego when its founders opened their first restaurant in El Cajon and a second in Point

                              6   Loma. Thereafter, the founders formed GFRC in 1983. This entity operated for over 30

                              7   years, expanding the Souplantation and Sweet Tomatoes brands across the United States

                              8   West and Southwest.

                              9   B.     Debtor’s Acquisition of Assets from the 2016 GFRC Bankruptcy Estate.

                             10          On or about October 3, 2016, GFRC and several affiliates filed bankruptcy under

                             11   chapter 11 in the U.S. Bankruptcy Court for the District of Delaware (the “Delaware

                             12   Bankruptcy Court”). The bankruptcy cases were jointly administered under In re Garden
La Jolla, California 92037




                             13   Fresh Restaurant Intermediate Holdings, LLC, et al., Case No. 16-12174 (CSS) (the “GFRC
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                             14   Bankruptcy”).3

                             15          On January 9, 2017, the Delaware Bankruptcy Court entered an order (the “2017 Sale

                             16   Order”) approving, among other things, the sale (the “GFRC Sale”) of certain assets (the

                             17   “GFRC Assets”) in the GFRC Bankruptcy to purchasers GFRC Holdings LLC (“GFRC

                             18   Holdings”), Garden Fresh, and GFRC Promotions LLC (“GFRC Promotions” and, together

                             19   with GFRC Holdings and Garden Fresh, the “2017 Purchasers”)4 pursuant to that certain

                             20   Asset Purchase Agreement (the “2016 APA”), dated as of November 14, 2016, by and among

                             21   GFRC Holdings, as purchaser, and Garden Fresh Restaurant Intermediate Holding, LLC,

                             22

                             23   3
                                    The debtors in the GFRC Bankruptcy, along with the last four digits of each debtor’s federal
                                  tax identification number, were Garden Fresh Restaurant Intermediate Holding, LLC (7513);
                             24
                                  Garden Fresh Holdings, Inc. (8804); GF Holdings, Inc. (8783); GFRC (8786); and Garden
                             25   Fresh Promotions, LLC (1376). The location of the debtors’ corporate headquarters was
                                  15822A Bernardo Center Drive, San Diego, CA 92127.
                             26   4
                                      GFRC Holdings was formerly known as GFRC Acquisition LLC at the time of the 2016
                                  APA. The 2017 Sale Order defines “Purchaser” as “GFRC Holdings LLC (formerly known
                             27   as GFRC Acquisitions LLC) (and together with its direct and indirect subsidiaries, Garden
                                  Fresh Restaurants LLC [i.e., the debtor in this case] and GFRC Promotions LLC, the
                             28
                                  ‘Purchaser’).” RFJN, Exhibit 1 at pp. 1-2.
                                  IN RE GARDEN FRESH RESTAURANTS LLC        3       MOTION TO APPROVE AUCTION PROCEDURES AND
                                  CASE NO. 20-02477-LT7                                  AUTHORIZE SALE OF CLASS ACTION CLAIMS
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                              1   GFRC, Garden Fresh Holdings, Inc., GF Holdings, Inc., and Garden Fresh Promotions, LLC,

                              2   as sellers. Id. A copy of the 2017 Sale Order is attached as Exhibit 1 to the RFJN. For the

                              3   Court’s convenience, the 2016 APA, which is an exhibit to the 2017 Sale Order, is also

                              4   attached as Exhibit 2 to the RFJN.

                              5           The 2016 APA names the purchaser under the 2016 APA as “GFRC Acquisitions

                              6   LLC, a Delaware limited liability company (and together with its designee(s), successors

                              7   and/or assigns, as provided under Section 11.8.)” RFJN, Exhibit 2 at opening paragraph. In

                              8   turn, Section 11.8 of the 2016 APA provides that GFRC Holdings “may assign, delegate or

                              9   transfer, in whole or in part this Agreement and any of its rights, obligations and/or interests

                             10   hereunder without the consent of the Sellers, to one or more of its Affiliates.” Id. at § 11.8.5

                             11           The assets purchased by the 2017 Purchasers pursuant to the 2016 APA (the

                             12   “Purchased Assets”) included all rights, claims, settlement proceeds, and causes of action
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                             13   relating to the Purchased Assets, which include all rights, title, and interest to all assets
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                             14   related to or held in connection with operating the “Business.” Specifically, Section 1.1 of

                             15   the 2016 APA provides the following description of the Purchased Assets:

                             16                   all of such Seller’s right, title and interest in, to and under, free
                                                  and clear of all Encumbrances … all of the assets, properties,
                             17
                                                  rights and interests of any nature, tangible or intangible, real or
                             18                   personal, wherever located, of such Seller related to or used, or
                                                  held for use, in connection with the operation of the Business,
                             19                   now existing or hereafter acquired on or prior to the Closing
                                                  Date, whether or not reflected on the books or financial
                             20                   statements of such Seller, as the same shall exist on the Closing
                             21                   Date, but in all cases excluding the Excluded Assets (…,
                                                  collectively, the “Purchased Assets”), including without
                             22

                             23

                             24   5
                                   The 2016 APA defines “Affiliate” as “with respect to any Person, any other Person that,
                             25   directly or indirectly through one or more intermediaries, controls, or is controlled by, or is
                                  under common control with, such Person, and the term ‘control’ (including the terms
                             26   ‘controlled by’ and ‘under common control with’) means the possession, directly or indirectly,
                                  of the power to direct or cause the direction of the management and policies of such Person,
                             27   whether through ownership of voting securities, by Contract or otherwise.” RFJN, Exhibit 2 at
                                  § 10.1(b), page 53. Pursuant to this definition, Garden Fresh, which is wholly owned by GFRC
                             28
                                  Holdings, is an Affiliate of GFRC Holdings. (ECF No. 168, SOFA ¶ 28 at 4334 of 4375)
                                  IN RE GARDEN FRESH RESTAURANTS LLC           4        MOTION TO APPROVE AUCTION PROCEDURES AND
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                                                  limitation, the following assets, properties, rights and interests of
                              1                   such Seller:
                              2
                                                  …
                              3
                                                  (j)     (i) all rights, claims, credits, settlement proceeds, causes
                              4                   of action or rights of set off against third parties relating to the
                                                  Purchased Assets … including, without limitation, all rights
                              5                   under vendors’, manufacturers’ and contractors’ warranties,
                                                  indemnities and guarantees ….
                              6
                                  RFJN, Exhibit 2 at § 1.1, pages 2–3 (emphasis added).
                              7
                                          Further, “Business” is defined as “any and all business activities of any kind that are
                              8
                                  conducted by the Sellers as of the Execution Date or at any time through (and including) the
                              9
                                  Closing Date, including, among other things, operating casual dining restaurants in several
                             10
                                  states and all operations incidental thereto.” Id. at § 10.1(l).
                             11
                                          Finally, Section 1.2 of the 2016 APA provides a list of “Excluded Assets,” which list
                             12
                                  does not include any asset that would apply to the claims in the Visa and Mastercard
La Jolla, California 92037




                             13
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                                  litigation. Id. at § 1.2.6
                             14
                                          Accordingly, the Purchased Assets purchased pursuant to the 2016 APA included any
                             15
                                  and all claims that GFRC could have asserted in the Class Action, as defined below (the
                             16
                                  “GFRC Claims”).
                             17
                                          As noted above, Garden Fresh (the debtor in the present case) is included as a
                             18
                                  Purchaser under the 2016 APA pursuant to the 2017 Sale Order. RFJN, Exhibit 1, at pp.1-2.
                             19
                                  Further, the 2017 Sale Order explicitly holds that GFRC Holdings “is hereby authorized in
                             20
                                  connection with the consummation of the Sale to transfer or direct the transfer of any or all of
                             21
                                  the Purchased Assets and the Assumed Contracts (or any rights to acquire the Purchased
                             22
                                  Assets and the Assumed Contracts) to its direct and indirect subsidiaries Garden Fresh
                             23
                                  Restaurants LLC and GFRC Promotions LLC in a manner as it, in its sole and absolute
                             24
                                  discretion, deems appropriate and to assign, sublease, sub license, transfer or otherwise
                             25

                             26
                                  6
                                   While the list of “Excluded Assets” purports to include “those assets listed in Schedule 1.2(m)
                             27   to the APA”, no Schedule 1.2(m) was filed in the GFRC Bankruptcy and, therefore, neither
                                  Schedule 1.2(m) nor anything listed on it, are a part of the 2016 APA as approved by the 2017
                             28
                                  Sale Order. RFJN, Ex. 1, 2.
                                  IN RE GARDEN FRESH RESTAURANTS LLC          5        MOTION TO APPROVE AUCTION PROCEDURES AND
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                              1   dispose of any of the Purchased Assets or the rights under any Assumed Contract to its direct

                              2   and indirect subsidiaries Garden Fresh Restaurants LLC and GFRC Promotions LLC with all

                              3   of the rights and protections accorded under this Sale Order and the Asset Purchase

                              4   Agreement, and the Debtors shall cooperate with and take all actions reasonably requested by

                              5   the Purchaser to effectuate any of the foregoing.” Id. at ¶ 22.

                              6          GFRC Holdings is a holding company set up for potential add-on acquisitions, exits

                              7   and financings. Garden Fresh, the debtor in this Case, is the operating company that

                              8   operated, among other things, the 97 restaurants. Garden Fresh is wholly owned by GRFC

                              9   Holdings. GFRC Promotions LLC is a company wholly owned by Garden Fresh that retains

                             10   all gift card liabilities separate from the operating company. All three of these entities

                             11   initiated bankruptcy proceedings in this Court.7

                             12          Neither GFRC Holdings nor GFRC Promotions LLC operated the restaurant locations
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                             13   or has any interest in the Settlement Claims related to the Visa and Mastercard charges from
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                             14   operation of those 97 restaurants that are the subject of the Class Action, as defined below.

                             15   Further, neither GFRC Holdings nor GFRC Promotions LLC identified the Settlement

                             16   Claims as assets in their respective bankruptcies. See RFJN, Exhibits 3, 4. (respective A/B

                             17   schedules)

                             18          Only the debtor Garden Fresh retained the Purchased Assets and operated the

                             19   restaurant locations. Accordingly, only Garden Fresh generated the Visa and Mastercard

                             20   charges that are the subject of the Class Action.

                             21   C.     The Visa/Mastercard Class Action, Proposed Settlement, and Appeal

                             22          A class action lawsuit was filed in the Unites States District Court for the Eastern

                             23   District of New York (the “EDNY”) captioned In re Payment Card Interchange Fee and

                             24   Merchant Discount Antitrust Litigation, 05-md-1720-MKB-JAM (the “Class Action”),

                             25

                             26
                                  7
                                      GFRC Holdings was debtor in Case No. 20-02480-LA7, which case was closed in May
                             27   2022. GFRC Promotions LLC was debtor in Case No. 20-02481-CL7, which case was
                                  closed in December 2020 as a no-asset case. The chapter 7 trustee in both cases was Leonard
                             28
                                  J. Ackerman.
                                  IN RE GARDEN FRESH RESTAURANTS LLC          6       MOTION TO APPROVE AUCTION PROCEDURES AND
                                  CASE NO. 20-02477-LT7                                    AUTHORIZE SALE OF CLASS ACTION CLAIMS
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                              1   alleging that merchants paid excessive fees to accept Visa and Mastercard credit or debit

                              2   cards due to the fact that Visa and Mastercard, individually, and together with their respective

                              3   member banks, allegedly violated antitrust laws. Class members include merchants that

                              4   accepted Visa or Mastercard credit or debit card payments between January 1, 2004, and

                              5   January 25, 2019. Garden Fresh, through operation of its restaurants during this 15-year

                              6   period and the purchase of the GFRC Claims, is a member of the class. A true and correct

                              7   copy of the Notice of Class Action Settlement (the “Settlement Notice”) as authorized by the

                              8   EDNY, regarding a proposed settlement of the Class Action, is attached to the RFJN as

                              9   Exhibit 5.

                             10           On December 16, 2019, the EDNY entered an order (the “Settlement Order”)

                             11   granting final approval of the proposed settlement which, among other things, creates a

                             12   settlement fund (the “Settlement Fund”) in the range of approximately $6.24 to $5.54 billion
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                             13   (the “Settlement”). A true and correct copy of the Settlement Order is attached to the RFJN
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                             14   at Exhibit 6. On January 3, 2020, an appeal of the Settlement Order was filed with the

                             15   EDNY. On March 15, 2023, the Court of Appeals for the Second Circuit (the “Second

                             16   Circuit”) affirmed the Settlement Order, with one exception not relevant here.8

                             17           On May 10, 2023, the Second Circuit denied certain objectors’ request for panel

                             18   rehearing or, in the alternative, rehearing en banc. As of August 1, 2023, the time for all

                             19   appeals has passed.

                             20           Importantly, no claim filing deadline has yet been set.

                             21           More information can be found at the Official Court-Authorized Settlement Website

                             22   at https://www.paymentcardsettlement.com/en.

                             23           The Trustee is informed that the Estate holds the Settlement Claims in the Class

                             24   Action. These Settlement Claims are based on Garen Fresh’s ownership and operation of

                             25   restaurants that accepted Visa or Mastercard credit or debit cards between January 1, 2004,

                             26

                             27   8
                                   The exception is that the EDNY is directed to reduce the service award to class representatives to the
                             28   extent that its size was increased by time spent in lobbying efforts that would not increase the recovery
                                  of damages.
                                  IN RE GARDEN FRESH RESTAURANTS LLC             7        MOTION TO APPROVE AUCTION PROCEDURES AND
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                              1   and January 25, 2019, as well as the purchase of the GFRC Claims. As set forth in the

                              2   Settlement Notice, the amount of Garden Fresh’s Settlement Claims will be based on the

                              3   actual or estimated interchange fees attributable to the Visa or Mastercard credit or debit card

                              4   transactions between Garden Fresh (or GFRC) and its customers between January 1, 2004,

                              5   and January 25, 2019.9 RFJN, Exhibit 5 at 7.

                              6          As further set forth in the Settlement Notice, the value of Garden Fresh’s Settlement

                              7   Claims, i.e., the amount to which the holder of such Settlement Claims will be entitled, will

                              8   depend on the total value of all valid claims filed in the Class Action, deductions made from

                              9   the Settlement Fund based on potential claimants opting out of the Settlement, and the costs

                             10   of administering the Settlement Fund. Id.

                             11          The Trustee does not possess records dating back to 2004 to determine the amount of

                             12   the Settlement Claims. As set forth in the Settlement Notice, the class administrator in the
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                             13   Class Action (the “Class Administrator”) will have data to determine the amount of each
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                             14   claim asserted in the Class Action, including in the subject Garden Fresh Settlement Claims.

                             15   Id. at 8. Regardless, the Trustee does have some relevant information regarding the scope of

                             16   the Settlement Claims that has been made available to potential bidders, namely (i) estimates

                             17   of Garden Fresh’s total sales for 2016, 2017, and 2018 as well as the total number of

                             18   transactions with Visa cards and Mastercard cards for 2018 and (ii) Garden Fresh’s merchant

                             19   account statements from Chase Paymentech for the period December 2007 to January 2019,

                             20   which provide detailed information regarding total daily transactions with Visa, Mastercard,

                             21   and other cards for each of Garden Fresh’s locations.

                             22          The Trustee is informed that the Settlement Claims have value for the Estate.

                             23   D.     Sale of the Settlement Claims Free and Clear of Liens, Claims, and Interests

                             24          As of the Petition Date, Cerberus Business Finance LLC (“Cerberus”), in its capacity

                             25   as collateral agent and administrative agent for the Lenders (together with Cerberus, the

                             26

                             27   9
                                   As noted above, Garden Fresh’s Settlement Claims also include the GFRC Claims dating
                                  from 2004 to 2016 that GFRC could have asserted in the Class Action that Garden Fresh
                             28
                                  acquired from the GFRC Bankruptcy.
                                  IN RE GARDEN FRESH RESTAURANTS LLC          8      MOTION TO APPROVE AUCTION PROCEDURES AND
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                              1   “Secured Creditors”) under, and as defined in, that certain Financing Agreement, dated as

                              2   of February 1, 2017, to which Garden Fresh and GFRC Promotions LLC, as co-borrowers,

                              3   and GFRC Holdings, LLC, as guarantor, are parties (the “Financing Agreement”), asserts a

                              4   security interest in the Settlement Claims pursuant to the terms of the Financing Agreement.

                              5          On July 20, 2020, the Trustee, Cerberus, and various third parties entered into a

                              6   stipulation (the “Carve-Out Stipulation”), approved by the Court on August 20, 2020 (ECF

                              7   No. 507), pursuant to which Cerberus agreed to allow the Trustee to market and sell, among

                              8   other things, the Settlement Claims, with the net proceeds of any such sale split 30% to the

                              9   Estate (as a carve-out from the Secured Creditors’ claims) and 70% to the Secured Creditors.

                             10   E.     Marketing Efforts

                             11          The Settlement Claims are an unusual asset for which standard marketing efforts

                             12   would be ineffective. The Trustee, however, has a broad network of buyers interested in
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                             13   purchasing unusual assets from bankruptcy estates. On July 6, 2023, the Trustee’s counsel
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                             14   contacted by email 20 third parties that had previously expressed an interest in purchasing the

                             15   Settlement Claim and/or are known potential purchasers in the industry, providing detailed

                             16   information regarding the Settlement Claims and the Trustee’s intended sale of the

                             17   Settlement Claims. Thereafter, the Trustee expanded the scope of her marketing efforts to

                             18   include additional known potential purchasers in the industry. On September 25, 2023, the

                             19   Trustee’s counsel sent an email to the members of the National Association of Bankruptcy

                             20   Trustees announcing the Trustee’s efforts to sell the Settlement Claims. In addition, on

                             21   September 27, 2023, the Trustee’s counsel contacted an additional 89 third parties by email

                             22   to provide detailed information regarding the Settlement Claims and the Trustee’s intended

                             23   sale of the Settlement Claims. As a result of these marketing efforts (collectively, the

                             24   “Marketing Efforts”), the Trustee received eleven (11) signed nondisclosure agreements

                             25   from potential purchasers seeking additional information regarding the Settlement Claims

                             26   and three (3) offers to purchase the Settlement Claims. The Trustee determined that the

                             27   highest and best offer for the Settlement Claims was in the amount of $50,000.00, received

                             28   by Clearwater Recovery Partners LLP (the “Buyer”). A copy of the Asset Purchase

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                              1   Agreement (the “Purchase Agreement”) with Buyer is attached to the Gladstone Declaration

                              2   as Exhibit A and incorporated herein.

                              3           The Trustee is unaware of any other higher and better firm offer to purchase the

                              4   Settlement Claims.

                              5           Neither Buyer nor any other party that submitted a nondisclosure agreement is an

                              6   insider of Garden Fresh. This proposed sale has been negotiated at arm’s length.

                              7           The proposed sale of the Settlement Claims will bring into the Estate about

                              8   $15,000.00 after payment of liens. As such, the Purchase Agreement, or any overbid, will

                              9   result in a significant benefit to the Estate.

                             10   F.      Sale Transaction, Subject to Overbid.

                             11           Below are the suggested terms of the sale transaction to Buyer.

                             12           (1)     Purchase Price: $50,000.00 payable as follows: $5,000.00 due at execution of
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                             13   the Purchase Agreement, and the remaining balance of the Purchase Price due at Closing.
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                             14           (2)     “As-Is, Where-Is”: The sale is as-is, where-is, no representations, no

                             15   warranties.

                             16           (3)     Closing Date: As soon as practicable but not later than five (5) business days

                             17   following the date of which the order approving the Purchase Agreement and authorizing the

                             18   Trustee to consummate the sale is entered, without a stay of such order being entered, or as

                             19   soon as is reasonably possible thereafter.

                             20           (4)     Sale Free-and-Clear: As authorized by Section 363(f) of the Bankruptcy

                             21   Code, the Settlement Claims will be sold free and clear of any and all monetary liens, claims,

                             22   encumbrances, or other interests (“Liens”). The Trustee is aware of the following interests,

                             23   liens, and encumbrances on the Property:

                             24                   (a)     Cerberus: approximately $44,741,947.24.

                             25   As set forth above, pursuant to the Carve-Out Stipulation Cerberus agreed to allow the

                             26   Trustee to market and sell, among other things, the Settlement Claims, with the net proceeds

                             27   of any such sale split 30% to the Estate (as a carve-out from the Secured Creditors’ claims)

                             28

                                  IN RE GARDEN FRESH RESTAURANTS LLC           10    MOTION TO APPROVE AUCTION PROCEDURES AND
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                              1   and 70% to the Secured Creditors. In the event the sale is not approved or not consummated,

                              2   all existing Liens will remain unaffected.

                              3          (5)     Buyer Breach: If Buyer fails to close, Buyer will forfeit its deposit as

                              4   liquidated damages and the Trustee will have the right to seek any and all other remedies and

                              5   damages from Buyer.

                              6          (6)     Overbid Terms: The Trustee seeks approval of the sale of the Settlement

                              7   Claims subject to the Proposed Auction Procedures described in the section below.

                              8          (7)     Conditions to Close:

                              9                  (a)     A Court order approving the sale of the Settlement Claims.

                             10                  (b)     Payment in full of the Purchase Price to the Trustee.

                             11                  (c)     Timely performance of each obligation, covenant, contingency, and

                             12                          condition under the APA.
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                             13          The Purchase Agreement has been negotiated at arm’s length.
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                             14          The net proceeds from this sale are estimated to result in about $15,000.00 to the

                             15   Estate. The Trustee believes that the sale is in the best interest of the Estate and in her

                             16   business judgment should be approved.

                             17   G.     Proposed Auction Procedures

                             18          At the hearing on this Motion (the “Hearing”), if a qualified overbidder is present and

                             19   interested in bidding, the Trustee will hold an auction to determine the Buyer. The Trustee

                             20   requests approval of the following suggested terms and proposed auction procedures.

                             21          (1)     Initial Overbid: $60,000.00.

                             22          (2)     Subsequent Incremental Bids: Minimum $5,000.00.

                             23          (3)     Deposit to Bid: $5,000.00.

                             24          (4)     Prequalification Deadline: January 5, 2024, at Noon (PDT).

                             25          (5)     The auction will continue until the Court determines the highest and best bid

                             26   (the “Successful Bid” from the “Successful Bidder”) and the second-highest bid (the “Back-

                             27   Up Bid” from the “Back-Up Bidder”). The Successful Bid will be irrevocable. The Back-

                             28   Up Bid will be irrevocable until the later of (i) two days after the order approving the

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                              1   Successful Bid becomes final and (ii) the closing of the sale to the Successful Bidder. Once

                              2   the Back-Up Bid is no longer irrevocable, the Trustee will promptly refund the Back-Up

                              3   Bidder’s deposit.

                              4          (6)     All potential overbidders will be required to attend the Hearing (in person,

                              5   telephonically, or any other medium that the Court requires).

                              6          (7)     Prequalification to Overbid: In order to be allowed to overbid, a party must

                              7   present each of the following to the Trustee, on or before the Prequalification Deadline

                              8   (January 5, 2024) set forth above:

                              9                  (a)    Good funds (i.e., cashier’s check or wire transfer) in the amount of

                             10          $5,000.00, payable to Estate of Garden Fresh Restaurants LLC, Leslie T. Gladstone,

                             11          Trustee, as a deposit, nonrefundable to the Successful Bidder and Back-Up Bidder,

                             12          except as provided in subparagraph (5) above. These funds will be deposited into the
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                             13          Estate’s account and will be promptly refunded to unsuccessful overbidders following
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                             14          the conclusion of the Hearing. The deposit of the Successful Bidder shall be applied

                             15          to the final purchase price ordered by the Court.

                             16                  (b)    Evidence, satisfactory to the Trustee, that the overbidder has the

                             17          financial wherewithal to close the transaction. Such evidence must include, at a

                             18          minimum, financial statements of the overbidder or party responsible for the

                             19          overbidder’s obligations, certified under penalty of perjury as true and correct.

                             20          (8)     The Successful Bidder will be required to execute, at the Hearing, an overbid

                             21   agreement. If the Hearing is conducted telephonically, the Successful Bidder will be required

                             22   to execute and deliver the overbid agreement to the Trustee within 24 hours after the Hearing.

                             23   This overbid agreement will be similar to the Purchase Agreement and is not negotiable.

                             24   Interested parties may contact the Trustee to obtain a copy of the overbid agreement.

                             25          (9)     In the event of a successful overbid by a party other than Buyer or Buyer’s

                             26   affiliate or assignee, Buyer may receive, subject to Court approval, a break-up fee in the

                             27   amount of $5,000.00 (the “Break-Up Fee”), which shall be classified as an Administrative

                             28   Expense under Section 503(b)(1)(A) of the Bankruptcy Code; provided, however, that in the

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                              1   event of Buyer’s default under the Purchase Agreement, the Break-Up Fee shall not be paid

                              2   to Buyer. The Break-Up Fee is intended as reimbursement for actual costs incurred by Buyer

                              3   in its investigation of the Settlement Claims. According to the Trustee’s suggested overbid

                              4   terms, the Break-Up Fee shall only be paid in the event of a consummated sale of the

                              5   Settlement Claims at $60,000.00 or higher––at least $10,000.00 above Buyer’s Purchase

                              6   Price––to a party other than Buyer or Buyer’s affiliate or assignee.

                              7          (10)    Back-Up Bid: If, following entry of the order authorizing this sale, the

                              8   Successful Bidder fails to consummate the sale because of a breach or failure to perform on

                              9   the part of the Successful Bidder, the Back-Up Bid will be deemed to be the new Successful

                             10   Bid and the Trustee will be authorized, but not required, to consummate the sale with the

                             11   Back-Up Bidder without further order of the Court. In the event of a breach or failure to

                             12   perform by the Successful Bidder, the Successful Bidder will forfeit its deposit to the Estate
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                             13   and the Trustee will have the right to seek any and all other remedies and damages from the
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                             14   Successful Bidder.

                             15   H.     Status of Case and Claims

                             16          The Trustee has many claim objections pending. The claim objections are a small

                             17   part of a large estate administration that is not yet completed. At this time, the Trustee

                             18   anticipates that the estate will have sufficient funds to pay PACA claims, priority wage

                             19   claims, and some tax claims.

                             20                                                   III.

                             21                     MEMORANDUM OF POINTS AND AUTHORITIES

                             22          Section 704 of the Bankruptcy Code requires that a chapter 7 trustee “collect and

                             23   reduce to money the property of the estate.” 11 U.S.C. § 704(a)(1).

                             24   A.     The Settlement Claims Are Property of the Estate that May Be Sold.

                             25          Section 363(b) of the Bankruptcy Code provides that a trustee, after notice and a

                             26   hearing may “use, sell, or lease, other than in the ordinary course of business, property of the

                             27   estate.” 11 U.S.C. § 363(b)(1). As described in detail above, the Settlement Claims are

                             28   property of the estate acquired by Garden Fresh pursuant to the 2017 Sale Order and Garden

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                              1   Fresh’s operation of its restaurants. Neither of Garden Fresh’s affiliates operated the

                              2   restaurants nor claim an interest in the Settlement Claims. The Settlement Claims are

                              3   property of this Estate and may be sold by the Trustee under Section 363(b)(1) of the

                              4   Bankruptcy Code.

                              5          The standard for approval of a sale of property of the estate under Section 363(b) of

                              6   the Bankruptcy Code is whether there exists “some articulated business justification” for the

                              7   proposed transaction. Walter v. Sunwest Bank (In re Walter), 83 B.R. 14, 19 (B.A.P. 9th Cir.

                              8   1988) (quoting Inst. Creditors v. Cont'l Air Lines, Inc. (In re Cont'l Air Lines, Inc.), 780 F.2d

                              9   1223, 1226 (5th Cir. 1986)).

                             10          Sufficient business justification exists for the proposed sale of the Settlement Claims.

                             11   The Settlement Claims are property of the Estate and the Trustee expects a robust sale which

                             12   will generate funds to pay the Estate’s creditors. In light of the foregoing, the Trustee
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                             13   believes that the sale of the Settlement Claims is in the best interests of the Estate.
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                             14   B.     The Auction Procedures Are Appropriate and in the Best Interests of the Estate.

                             15          The Trustee believes that the proposed Auction Procedures constitute the best method

                             16   to maximize the proceeds from the sale of the Settlement Claims.

                             17   C.     Sale of the Settlement Claims Free and Clear of Liens and Interests is Permitted

                             18          Under Section 363(f) of the Bankruptcy Code.

                             19          Section 363(f) of the Bankruptcy Code describes the circumstances under which a

                             20   trustee may sell property of the estate free and clear of any interest of third parties in such

                             21   property:
                                                  The trustee may sell property under subsection (b) … free and
                             22                   clear of any interest in such property of an entity other than the
                             23                   estate only if—
                                                  (1) applicable non-bankruptcy law permits sale of such
                             24                          property free and clear of such interests;
                                                  (2) such entity consents;
                             25                   (3) such interest is a lien and the price the property is to be sold
                                                         is greater than the aggregate value of all liens on such
                             26
                                                         property;
                             27                   (4) such interest is in bona fide dispute; or
                                                  (5) such entity could be compelled, in a legal or equitable
                             28                          proceeding to accept a money satisfaction of such interest.

                                  IN RE GARDEN FRESH RESTAURANTS LLC          14       MOTION TO APPROVE AUCTION PROCEDURES AND
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                              1   11 U.S.C. § 363(f).

                              2          Here, the only Lien on the Settlement Claims is held by Cerberus. As set forth above,

                              3   pursuant to the terms of the Carve-Out Stipulation, Cerberus has consented to the Trustee’s

                              4   sale of the Settlement Claims and its payment from 70% of the net proceeds of the sale of the

                              5   Settlement Claims. (ECF No. 507).

                              6          Therefore, the Trustee may sell the Settlement Claims free and clear of such interests,

                              7   liens, encumbrances or claims pursuant to sections 363(f)(2), (f)(4), and (f)(5).

                              8   D.     Accurate and Reasonable Notice of the Sale and Auction Opportunity Has Been

                              9          Provided.

                             10          As described above, the Trustee has marketed the Settlement Claims since early July

                             11   2023. In addition, through service of this Motion, the Trustee will also give notice of the sale

                             12   to all entities entitled to notice pursuant to the Court’s Order on Emergency Motion for order
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                             13   Establishing Notice Procedures (ECF No. 30) and all entities required to be given notice
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                             14   under the federal and local bankruptcy rules.

                             15          In addition, the Trustee will deliver detailed instructions regarding the auction

                             16   procedures to everyone in her network who may be interested in purchasing the Settlement

                             17   Claims, everyone who responds to the Marketing Efforts, and every potential buyer who

                             18   expresses or has expressed an interest in participating in the auction.

                             19   E.     Buyer Is a Good Faith Purchaser.

                             20          Section 363(m) of the Bankruptcy Code provides that “[t]he reversal or modification

                             21   on appeal of an authorization under subsection (b) or (c) of this section of a sale or lease of

                             22   property does not affect the validity of a sale or lease under such authorization to an entity

                             23   that purchased or leased such property in good faith …”. 11 U.S.C. § 363(m). “Under 11

                             24   U.S.C. § 363(m), an appeal of a bankruptcy court's ruling on a [sale] generally cannot affect

                             25   the rights of a good faith purchaser of the foreclosed property, unless the debtor [or other

                             26   complaining party] stays the … sale pending an appeal.” Mann v. Alexander Dawson Inc. (In

                             27   re Mann), 907 F.2d 923, 926 (9th Cir. 1990).

                             28          “[T]he primary goal of the mootness rule [embodied in section 363(m)] is to protect

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                              1   the interest of a good faith purchaser … of the property, thereby assuring finality of sales.”

                              2   Onouli-Kona Land Co. v. Estate of Richards (In re Onouli-Kona Land Co.), 846 F.2d 1170,

                              3   1172 (9th Cir. 1988) (internal quotation omitted). As set forth in the Gladstone Declaration,

                              4   the protection of Section 363(m) is appropriate in this case because the proposed sale

                              5   transaction is the product of arm’s-length, good-faith negotiations implemented between the

                              6   Trustee and Buyer. See Onouli-Kona Land Co., 846 F.2d at 1173 (lack of good faith within

                              7   meaning of section 363(m) requires “fraud, collusion, … or an attempt to take grossly unfair

                              8   advantage of other bidders”) (quoting Cmty. Thrift & Loan v. Suchy (In re Suchy), 786 F.2d

                              9   900, 901-02 (9th Cir. 1985). Moreover, any successful overbidder will be required to overbid

                             10   at the Sale Hearing before the Court, at which time the Court may determine whether such

                             11   successful overbidder is a good-faith purchaser. As a consequence, the requested finding that

                             12   each of Buyer or the Successful Bidder and Back-up Bidder is a “good faith” purchaser
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                             13   within the meaning of Bankruptcy Code Section 363(m) is appropriate.
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                             14   F.     The Break-Up Fee Is in the Best Interests of the Estate.

                             15          In assessing a break-up fee, courts should consider the following three questions:

                             16
                                                 (1) is the relationship of the parties who negotiated the break-up
                             17                  fee tainted by self-dealing or manipulation; (2) does the fee
                                                 hamper, rather than encourage, bidding; (3) is the amount of the
                             18                  fee unreasonable relative to the proposed purchase price.
                             19   Official Comm. of Subordinated Bondholders v. Integrated Res., Inc. (In re Integrated Res.,
                             20   Inc.), 147 B.R. 650, 657 (S.D.N.Y. 1992).
                             21          Here, the Trustee required the sale to be subject to overbid. The Trustee includes the
                             22   Break-Up Fee to encourage bidding by offering a relatively small incentive to cover the costs
                             23   of investigating the Settlement Claims. The Break-Up Fee provision is untainted by self-
                             24   dealing or manipulation. The amount of the Break-Up Fee is reasonable. The $5,000.00
                             25   Break-Up Fee is $5,000.00 less than the $10,000.00 increase in bid amount for the suggested
                             26   Initial Overbid of $60,000.00. Furthermore, the Break-Up Fee shall only be paid in the event
                             27   that the Settlement Claims are sold to a party other than Buyer or Buyer’s affiliates or
                             28   assignees. Accordingly, the Break-up Fee is in the best interests of the Estate.
                                  IN RE GARDEN FRESH RESTAURANTS LLC         16       MOTION TO APPROVE AUCTION PROCEDURES AND
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                              1   G.        The Sale Is in the Best Interests of the Estate.

                              2             In view of the compelling business reasons for the proposed transaction—generating

                              3   funds to pay creditors—the proposed sale is in the best interests of the Estate and should be

                              4   approved.

                              5                                                     IV.

                              6                                            CONCLUSION

                              7             For all the foregoing reasons, the Settlement Claims are property of the Estate and the

                              8   proposed auction procedures should be approved.

                              9             WHEREFORE, the Trustee respectfully requests that the Court enter an order:

                             10             (1)    approving the proposed auction procedures;

                             11             (2)    authorizing the Trustee to consummate the sale of the Settlement Claims to

                             12   Buyer or to Successful Bidder and Back-Up Bidder;
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                             13             (3)    authorizing the sale free and clear of all liens, claims and interests, with any
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                             14   such liens, claims and interests attaching to the sale proceeds with the same validity, scope,

                             15   priority, and perfection as they had on the Settlement Claims immediately prior to the

                             16   closing;10

                             17             (4)    authorizing the payment of any existing undisputed liens from the proceeds of

                             18   the sale;

                             19             (5)    finding that each of Buyer or Successful Bidder and Back-Up Bidder is a

                             20   good-faith purchaser within the meaning of section 363(m) of the Bankruptcy Code; and

                             21             (6)    authorizing payment of the Break-Up Fee out of the proceeds of the sale of the

                             22   Settlement Claims, provided that there is a consummated sale of the Settlement Claims at

                             23   $60,000.00 or higher to a party other than Buyer or Buyer’s affiliate or assignee.

                             24             The Trustee also requests such other and further relief as this Court deems just and

                             25   proper.

                             26

                             27
                                  10
                                    In the event the sale is not consummated, the existing lien on the Settlement Claims shall
                             28
                                  remain unaffected.
                                  IN RE GARDEN FRESH RESTAURANTS LLC           17         MOTION TO APPROVE AUCTION PROCEDURES AND
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                              1                                               Respectfully submitted,

                              2   Dated: December 13, 2023                    FINANCIAL LAW GROUP
                              3

                              4                                               By:     /s/ Andrew B. Levin
                                                                                    Andrew B. Levin, Esq.
                              5                                                     Attorneys for Leslie T. Gladstone, Trustee
                              6

                              7

                              8

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                             14

                             15

                             16

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                                  IN RE GARDEN FRESH RESTAURANTS LLC     18         MOTION TO APPROVE AUCTION PROCEDURES AND
                                  CASE NO. 20-02477-LT7                                  AUTHORIZE SALE OF CLASS ACTION CLAIMS
